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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

LEON FREDERICK,

    Plaintiff,                                      CASE NO.:

-VS-

AMERICAN FIRST FINANCE, INC.,

    Defendant.
                                      /

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, LEON FREDERICK, by and through the undersigned counsel,

and sues Defendant, AMERICAN FIRST FINANCE, INC., and in support thereof respectfully

alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)

and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                          INTRODUCTION

       1.        The TCPA was enacted to prevent companies like Defendant from invading

American citizen’s privacy and prevent abusive “robo-calls.”

       2.        “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

L.Ed. 2d 881 (2012).

       3.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone



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subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

       4.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

333676A1.pdf.

                                 JURISDICTION AND VENUE

       5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014)

       8.      The alleged violations described herein occurred in Hillsborough County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2) as it is the




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judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                      FACTUAL ALLEGATIONS

       9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in the city

of Tampa, Hillsborough County.

       10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

       11.     Plaintiff is an “alleged debtor.”

       12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       13.     Defendant is a corporation which was formed in Kansas with its principal place of

business located at 3515 North Ridge Road, Suite 200, Wichita, Kansas 67205 and which

conducts business in the State of Florida through its registered agent, Incorp Services, Inc.

located at 17888 67th Court North, Loxahatchee, Florida 33470.

       14.     The debt that is the subject matter of this Complaint is a “consumer debt” as

defined by Florida Statute §559.55(6).

       15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).

       16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately one

hundred (100) times in an attempt to collect a debt.

       17.     Upon receipt of the calls from Defendants, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to the following number: (201) 499-7066.

       18.     Defendant attempted to collect an alleged debt from Plaintiff by this campaign of

telephone calls.




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        19.    Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“auto-dialer calls”). Plaintiff will testify that he knew it was an auto-dialer because of the vast

number of calls he received and because he heard a pause when he answered his phone before a

voice came on the line.

        20.    Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (347) ***-1862, and was the called party and recipient of Defendant’s calls.

        21.    Defendant placed an exorbitant number of automated calls and texts to Plaintiff’s

cellular telephone (347) ***-1862 in an attempt to collect on a consumer loan.

        22.    On several occasions over the last four (4) years Plaintiff instructed Defendant’s

agent(s) to stop calling his cellular telephone.

        23.    In or about June 2018, Plaintiff answered a call from Defendants to his

aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendants and informed the agent/representative that he was not behind on his payments and he

did not understand why they were calling him. Plaintiff demanded the harassing calls to his

cellular telephone number cease immediately.

        24.    Each subsequent call Defendants made to Plaintiff’s aforementioned cellular

telephone number was knowing and willful and done so without the “express consent” of

Plaintiff.




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        25.     Again, in or about July 2018, Plaintiff answered a call from Defendants to his

aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendants and informed the agent/representative that he was not behind on his payments and he

did not understand why they were calling him. Plaintiff demanded the harassing calls to his

cellular telephone number cease immediately.

        26.     Despite clearly and unequivocally revoking any consent Defendant may have

believed they had to call Plaintiff on his cellular telephone, Defendant continued to place

automated calls to Plaintiff.

        27.     Plaintiff’s conversations with Defendants agents/representatives over the

telephone wherein he demanded a cessation of calls were in vain as Defendant continued to

bombard him with automated calls unabated.

        28.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s cellular telephone in

this case.

        29.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in this case, with no

way for the consumer, Plaintiff, or Defendant, to remove the number.

        30.     Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

        31.     Defendant has numerous other federal lawsuits pending against it alleging similar

violations as stated in this Complaint.

        32.     Defendant has numerous complaints across the country against it asserting that its

automatic telephone dialing system continues to call despite requested to stop.


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       33.     Defendant has had numerous complaints from consumers across the country

against it asking to not be called; however, Defendant continues to call the consumers.

       34.     Defendant’s corporate policy provided no means for Plaintiff to have his number

removed from Defendant’s call list.

       35.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

       36.     Not a single call placed by Defendant to Plaintiff were placed for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       37.     Defendant willfully and knowingly violated the TCPA with respect to Plaintiff.

       38.     From each and every call placed without consent by Defendant to Plaintiff’s

cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his

right of seclusion.

       39.     From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of his cellular telephone

line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate

callers or outgoing calls while the telephone was ringing from Defendant’s calls.

       40.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time.

For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for

the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone

and deal with missed call notifications and call logs that reflected the unwanted calls. This also

impaired the usefulness of these features of Plaintiff’s cellular telephone, which are designed to

inform the user of important missed communications.


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        41.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls

that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.

        42.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff’s cellular

telephone’s battery power.

        43.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone

or network.

        44.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular

telephone and his cellular telephone services.

        45.     As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety, nervousness,

embarrassment, distress and aggravation.

                                            COUNT I

                                     (Violation of the TCPA)

        46.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty five

(45) as if fully set forth herein.


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        47.     Defendant willfully violated the TCPA with respect to Plaintiff, especially for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that he wished for the calls to stop.

        48.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations of these parts and any other such relief the court may

deem just and proper.



                                            COUNT II
                                    (Violation of the FCCPA)

        49.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty five

(45) as if fully set forth herein

        50.     At all times relevant to this action Defendant is subject to and must abide by the

laws of the State of Florida, including Florida Statute § 559.72.

        51.     Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of his or her family with such frequency as can reasonably be

expected to harass the debtor or his or her family.

        52.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of his or

her family.

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       53.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute § 559.77.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

                                              Respectfully submitted,

                                              /s/ John C. Distasio
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